Case 3:25-cv-00821-SRU Document 1-1
CIVIL COVER SHEET

JS 44 (Rev, 06/17)

Filed 05/23/25 Pagelofi

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. ‘This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet, (Sf INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

EAR RARE ES ividually and on behalf of all other similarly situated

(b) County of Residence of First Listed Plaintiff Fairfield, CT

(EXCEPT IN U.S. PLAINTIFF CASES)

YREP RAR AGEN HEALTH SYSTEM

County of Residence of First Listed Defendant __
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

NOTE:

(c) Attomeys (Firm Name, Address, and Telephone Number)
Richard E. Hayber, Hayber, McKenna & Dinsmore, LLC

750 Main Street, Suite 904, Hartford, CT 06103
860-522-8888

Attorneys (If Known)

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)

(For Diversity Cases Only)

UI. CITIZENSHIP OF PRINCIPAL PARTIES (Place an 'X” in One Box for Plaintiff

and One Box for Defendant)

O 1 U.S, Goverment 2% 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State 01 OL Incorporated or Principal Place go4 04
of Business In This State
O 2 U.S, Government 0 4 Diversity Citizen of Another State QO 2 © 2 Incorporated and Principal Place gas a5
Defendant (Indicate Citizenship of Parties in Item II1) of Business In Another State
Citizen or Subject of a O03 O 3. Foreign Nation O06 6
Foreign Country
IV. NATURE OF SUIT jPiace an “x” in One Box Only) Click here for: Nature of Suit Cade Descriptions.
I CONTRACT TORTS __ FORFEITURE/PENALTY | ____ BANKRUPTCY OTH
1 110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure O 422 Appeal 28 USC 158 0 375 False Claims Act
© 120 Marine O 310 Airplane (1 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal GC 376 Qui Tam (31 USC
0 130 Miller Act © 315 Airplane Product Product Liability 0 690 Other 28 USC 157 3729(a))
0 140 Negotiable Instrument Liability C1 367 Health Care/ 0 400 State Reapportionment
0 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical O 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 1 820 Copyrights ©) 430 Banks and Banking
& 151 Medicare Act 0 330 Federal Employers’ Product Liability C1 830 Patent 0 450 Commerce
© 152 Recovery of Defaulted Liability CF 368 Asbestos Personal C1 835 Patent - Abbreviated C1 460 Deportation
Student Loans 0 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) © 345 Marine Product Liability O 840 Trademark Corrupt Organizations
C1 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 480 Consumer Credit
of Veteran’s Benefits 1 350 Motor Vehicle O 370 Other Fraud 0 710 Fair Labor Standards O 861 HIA (1395ff) 1} 490 Cable/Sat TV
1 160 Stockholders’ Suits CO 355 Motor Vehicle © 371 Truth in Lending Act 0 862 Black Lung (923) © 850 Securities/Commodities/
© 190 Other Contract Product Liability (X 380 Other Personal O 720 Labor/Management 863 DIWC/DIWW (405(g)) Exchange
G 195 Contract Product Liability | 360 Other Personal Property Damage Relations 0 864 SSID Title XV1 C1 890 Other Statutory Actions
CO 196 Franchise Inj 0 385 Property Damage © 740 Railway Labor Act C1 865 RSI (405(g)) © 891 Agricultural Acts
© 362 Personal Injury - Product Liability © 751 Family and Medical 0 893 Environmental Matters
Medical Malpractice Leave Act © 895 Freedom of Information
[ REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS | 790 Other Labor Litigation FEDERAL TAX SUITS Act
O 210 Land Condemnation 0 440 Other Civil Rights Habeas Corpus: C1 791 Employee Retirement GC 870 Taxes (U.S. Plaintiff OF 896 Arbitration
0 220 Foreclosure O 441 Voting © 463 Alien Detainee Income Security Act or Defendant) 0 899 Administrative Procedure
(1 230 Rent Lease & Ejectment 442 Employment @ 510 Motions to Vacate O 871 IRS—Third Party Act/Review or Appeal of
1 240 Torts to Land © 443 Housing/ Sentence 26 USC 7609 Agency Decision
© 245 Tort Product Liability Accommodations O 530 General 01 950 Constitutionality of
© 290 All Other Real Property 0 445 Amer, w/Disabilities -] 535 Death Penalty IMMIGRATION State Statutes
Employment Other: © 462 Naturalization Application
© 446 Amer. w/Disabilities - | 540 Mandamus & Other | 465 Other Immigration
Other O 550 Civil Rights Actions
OG 448 Education 0 555 Prison Condition
1 560 Civil Detainee -
Conditions of
Confinement

V. ORIGIN (Place an “X" in One Box Only)

X11 Original 1 2 Removed from
Proceeding State Court

O 3  Remanded from o4

Appellate Court

Reinstated or O 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

VI. CAUSE OF ACTION

Brief description of cause:

Data breach, Negligence Per Se, HIPPA and other torts

VII. REQUESTED IN G& CHECK IF THIS IS A CLASS ACT DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, E,Be€v.P. ore JURY DEMAND: MYes ONo
VII. RELATED CASE(S)
IF ANY (See win hog fan R. vega DOCKET NUMBER 3:2025cv00722 -
DATE SIGN RE OF ATYORNEY OF RECORD
05/23/2025

FOR OFFICE USE ONLY

ZL
fv

RECEIPT # AMOUNT

JUDGE

MAG, JUDGE
